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 Attorneys for Defendant, Kenneth Brown, Jr. in his official capacity as Chief of
 Wall Township Police Department

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

  ASSOCIATION OF NEW JERSEY Case No.: 3:18-cv-10507 (PGS) (JBD)
  RIFLE & PISTOL CLUBS, INC.,
  BLAKE   ELLMAN,    and    MARC        Civil Action
  WEINBERG,
                Plaintiffs,               ORDER
  v.
  MATTHEW PLATKIN, in his official
  capacity as Attorney General of New
  Jersey, PATRICK J. CALLAHAN, in his
  official capacity as Superintendent of the
  New Jersey Division of State Police,
  RYAN MCNAMEE, in his official
  capacity as Chief of Police of the Chester
  Police     Department,    and     JOSEPH
  MADDEN, in his official capacity as
  Chief of Police of Park Ridge Police
  Department,

                        Defendants.

  MARK    CHEESEMAN,   TIMOTHY Case No.: 1:22-cv-4360 (RMB) (JBD)
  CONNELLY, and FIREARMS POLICY
  COALITION, INC.
                        Plaintiffs,
  v.
  MATTHEW J. PLATKIN, in his official
  capacity as Acting Attorney General of
Case 3:22-cv-04397-PGS-JBD Document 50-4 Filed 11/02/23 Page 2 of 3 PageID: 235




   New Jersey, PATRICK J. CALLAHAN,
   CHRISTINE A. HOFFMAN, BRADLEY
   D. BILLHIMER, in his official capacity
   as Ocean County Prosecutors,
                         Defendants.

   BLAKE ELLMAN, THOMAS R. Case No.: 3:22-cv-4397 (PGS)(JBD)
   ROGERS, ASSOCIATION OF NEW
   JERSEY RIFLE & PISTOL CLUBS,
   INC.
                         Plaintiffs,
   v.

   MATTHEW PLATKIN, in his official
   capacity as Attorney General of New
   Jersey, PATRICK CALLAHAN, in his
   official capacity as Superintendent of the
   New Jersey Division of State Police, LT.
   RYAN MCNAMEE, in his official
   capacity as Officer in Charge of the
   Chester     Police    Department,     and
   KENNETH BROWN, JR., in his official
   capacity as Chief of the Wall Township
   Police Department,
                         Defendants.


          THIS MATTER having been opened to the Court upon the application of

 Mitchell B. Jacobs, Esq. of Cleary Giacobbe Alfieri Jacobs, LLC, attorneys for

 Defendant, Kenneth Brown, Jr., in his official capacity as Chief of Wall Township

 Police Department, for an Order for summary judgment; and the Court having

 reviewed the moving papers, and any opposition thereto, and for good cause

 having been shown;


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          IT IS on this ________ day of _______________________, 2024:

          ORDERED that the Motion for Summary Judgment of Defendant, Kenneth

 Brown, Jr., in his official capacity as Chief of Wall Township Police Department,

 is hereby GRANTED; and

          IT IS FURTHER ORDERED that the Complaint of Plaintiffs, Blake

 Ellman, Thomas R. Rogers, Association of New Jersey Rifle & Pistol Clubs, Inc.

 is hereby DISMISSED, with prejudice against Defendant, Kenneth Brown, Jr., in

 his official capacity as Chief of Wall Township Police Department.

                                       __________________________________
                                       HON. PETER G. SHERIDAN, U.S.D.J.




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 4888-4345-0252, v. 1
